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  Counsel for Highland Capital Management, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                    )
      In re:                                                        )   Chapter 11
                                                                    )
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054-sgj11
                                                                    )
                                       Reorganized Debtor.          )
                                                                    )



                     DECLARATION OF JOHN A. MORRIS
          IN SUPPORT OF REORGANIZED DEBTOR’S (A) OBJECTION TO
        MOTION TO QUASH AND FOR PROTECTION [DOCKET NO. 3464] AND
  (B) CROSS-MOTION TO ENFORCE SUBPOENAS AND TO COMPEL A DEPOSITION



  1
    Highland’s last four digits of its taxpayer identification number are (8357). The headquarters and service address
  for Highland is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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          I, John A. Morris, pursuant to 28 U.S.C. § 1746, under penalty of perjury, declare as

  follows:

          1.        I am an attorney in the law firm of Pachulski, Stang, Ziehl & Jones LLP, counsel

  to Highland Capital Management, L.P., the reorganized debtor in the above-referenced bankruptcy

  case (“Highland”), and I submit this Declaration in support of the Reorganized Debtor’s (A)

  Objection to Motion to Quash and for Protection [Docket No. 3464] and (B) Cross-Motion to

  Enforce Subpoenas and to Compel a Deposition. Unless stated otherwise, this Declaration is based

  on my personal knowledge and review of the documents listed below.

          2.        Attached as Exhibit 1 is a true and correct copy of an e-mail from counsel for

  NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC (“HCRE”) to me dated July 8,

  2022, in which HCRE’s counsel agreed to accept service of subpoenas on behalf of James Dondero

  (“Mr. Dondero”) and Matt McGraner (“Mr. McGraner”).

          3.        Attached as Exhibit 2 are true and correct copies of e-mails exchanged between

  HCRE’s counsel and me during the period August 9-10, 2022, concerning HCRE’s late production

  of more than 4,000 pages of documents.

          4.        Attached as Exhibit 3 are true and correct copies of e-mails exchanged between

  HCRE’s counsel and me on August 12, 2022, concerning HCRE’s stated intention to withdraw its

  proof of claim.

          5.        Attached as Exhibit 4 are true and correct copies of e-mails I sent to HCRE’s

  counsel during the period August 16-17, 2022, concerning certain subpoenas and a deposition

  notice in which I offered to make scheduling accommodations and sought confirmation that

  HCRE’s counsel would accept service of the subpoenas as he had done previously.




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          6.       Attached as Exhibit 5 is a true and correct copy of an e-mail I sent to HCRE’s

  counsel on July 27, 2022, in which I attached amended versions of the subpoenas which HCRE’s

  counsel had previously accepted service (see Exhibit 1).

          7.       Attached as Exhibit 6 are true and correct copies of e-mails exchanged between

  HCRE’s counsel and me during the period July 26-27, 2022, which reflect our agreement

  concerning the fixing of deposition dates for HCRE, Mr. Dondero, and Mr. McGraner.

          8.       On August 15, 2022, I spoke with HCRE’s counsel by phone and informed him that

  Highland would oppose the Motion to Withdraw. In response, HCRE’s counsel informed me that

  neither Mr. Dondero nor Mr. McGraner nor HCRE would appear for the depositions that had

  consensually been scheduled for August 16 and 17, respectively.


  Dated: September 2, 2022

                                                      /s/ John A. Morris
                                                      John A. Morris




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